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IN THE UNITED STATES DISTRICT COL"RT
FOR THE DISTRICT OF COLORADO

Civil Action No. [ ]

THE ESTATE OF NORMAN FRANZ_. by and through

its duly appointed special administrator Sonya Harris,
SONYA I-IARRIS, RI-IONDA KTNG, and KEVIN FRANZ,
heirs at law ofNorrnan Franz, deceased._

Plaintit`t`S,
v.
CHARLES J. FOX._ M.D., MARY CARR, M.D.,
DENVER HEALTH ME[_)ICAL CENTER,
and DENVER I~IEALTH AND HOSPITAL AUTHOR!TY.

Det`endants.

 

COMPLAINT AND JURY DEMAND

 

COME NOW the P]aintiffs and for their cause ot` action against the Defendants, state and
allege as follows:
l. The Estate of Norman Franz has been duly opened in the Ford County, Kansas, District

Court. and Sonya Harris has been appointed as Special Administrator.

 

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2. Pursuant to Colorado Revised Slatute § l3-21-20](l)(a)(lll), Carole Franz, the surviving
spouse of Norman Franz, has made a written election to allow Mr. Franz` heirs to pursue this
wronng death action in the first year after his death.

3. Plaintit`rC Sonya Harris is an individual and resident ofWichita, Kansas. and is a daughter and
an heir at law ofNorman Franz.

4. Plaintifi` Rhonda King is an individual and resident ot` Atglen, Pennsylvania, and is a
daughter and an heir at law of Norman Franz.

5. Plaintit`fKevin Franz is an individual and resident ot`Dodge City._ Kansas, and is the son and
an heir at law of Norman Franz.

6. Defendant Charles J. Fox, M.D.._ is an individual. a resident of Denver._ Colorado_, and is a
physician licensed to practice medicine in the state of Colorado, specializing in vascular
surgery. He may be served with process at his residential address, 1190 York Street_. Denver.
Colorado 80206.

7. Det`endant Mary Carr, M.D., is an individual, a resident of Denver_1 Colorado, and is a
physician licensed to practice medicine in the state ofColorado, specializing in surgery She
may be served with process at her residential address, 301 Harrison Street, Unit 103_. Denver.
Colorado 80206.

8. Det`endant Denver Health Medical Center is a public hospital in Denver, Colorado operated
by the Denver Health and Hospital Authority and may be served with process by serving Rus
Heise_, Chairman of the Board of Directors, Denver Health and Hospital Authority, 660

Bannock Street, Mail Code 1919_. Denver, Colorado 80204-4506.

 

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9. Defendant Denver Health and Hospital Autliority is a political subdivision ot` the state of
Colorado and is responsible for the operations ot` the Authority’s health system, including
Denver Health Medical Center. Denver Health and Hospital Authority may be served With
process by serving Rus l-leise, Chairman of the Board of Directors_. Denver Health and
Hospital Authority, 660 Bannock Street, Mail Code 1919, Denver_. Colorado 80204-4506.

lU. This Court has jurisdiction of this case because complete diversity of citizenship exists and
the matter in controversy exceeds, exclusive of interest and costs, the sum specified by 28
U.S.C. § 1332.

11. Venue is proper in the United States District Court t`or the District of Colorado pursuant to
28 U.S.C. § 1391 as the judicial district in which all relevant events and omissions occurred
and in which Det`endants maintain offices and/or reside.

12. At all times material to this action, Colorado Revised Statute § 24-10-106(1) was in effect,
which states in pertinent part: “Sovereign immunity is waived by a public entity in an action
for injuries resulting t`rom: . . . (b) The operation ot` any public hospital, correctional facility,
as defined in section 17-1-1(}2_. C.R.S., orjail by such public entity; ."’

13. Plaintit`fs provided timely written notice of this claim to Defendants as required by Colorado
Revised Statute § 24-1 0-109. A copy ot` the notice is attached hereto and incorporated by
reference as Exhibit l.

14. On or about April 26, 2016, Norman Franz was out in his yard at home in Dodge City,
Kansas when he experienced acute pain and numbness in his right foot and drove himself to

Western Plains Medical Center in Dodge City.

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15. Norman Franz was found to have a right femoral artery aneurysm and a known abdominal
aortic aneurysm and transported by ambulance to Denver Health Medical Center.

16. On April 27 and 28, 2016, staff ot` Defendant Denver Health performed thrombolysis
procedures on Norman Franz in an attempt to improve circulation in his right foot.

17. On May 3, 2006, Defendants Charles .l. Fox, M.D.r and Mary Carr, M.D.._ performed surgery
on Norman Franz at Denver Health Medical Center to address the two aneurysms.

18. During surgery, Dr. Fox and Dr. Carr negligently placed a stent approximately 1.5 inches
superior to the right renal artery overlying the celiac, superior mesenteric and bilateral renal
arteries almost to the level of the diaphragm, cutting off the blood supply to vital organs.

19. On May 5_. 2016, Norman Franz died as a result of complications of bowel necrosis due to
vascular occlusion due to the negligent placement of the stent.

20. Dr. Fox and Dr. Carr had a duty to exercise that degree of care_. skill, diligence, caution, and
foresight exercised by and expected of a reasonably careful physician in their respective
specialties with respect to the care and treatment of Norman Franz.

21. Dr. Fox and Dr. Carr deviated from the standard of care by failing to provide reasonably
careful care to Norman Franz.

22. Staffat Denver Health had a duty to exercise that degree ofcare, skill, diligence, caution, and
foresight exercised by and expected of a reasonably careful medical personnel in their
respective specialties with respect to the care and treatment of Norman Franz.

23. Staff at Denver Health failed to provide reasonably careful care to Norman Franz.

24. Norman Franz’s death was caused by the negligence ot`Dr. Fox and Dr. Carr in placement

of the stent.

 

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25. Specifically, Dr. Fox and Dr. Carr were negligent in the following_._ and other respects:
a. in failing to use contrast;
b. in failing to ensure proper stent placement
c. in failing to identify the celiac trunk, the superior mesenteric artery and bilateral renal
arteries; and
d. in failing to use available software to ensure proper placement
26. Staff at Denver l~lealth were also negligent in failing to use available software to ensure

proper stent placement, and in failing to fully educate physicians and staff, and in failing to
have and enforce policies and procedures to ensure proper stent placementl

2?'. As a result ofthe negligence of Dr. Fox. Dr. Carr and Denver Health staff._ Norman Franz
endured extreme pain and suffering prior to his death.

28. Dr. Fox and Denver Health have admitted that the stent was put in the wrong place, that it
was an error_, and that the care provided to Norman Franz did not follow the standard

29. Defendant Denver Health is vicariously liable for the negligence of its employees in the care
and treatment ofNorman Franz.

30. The Estate of Norman Franz brings a claim for medical bills and for funeral and burial
expenses.

31. Plaintiffs Sonya Harris1 Rhonda King and Kevin Franz have suffered and will continue to
suffer in the future non-economic damages including grief_. loss of companionship, pain and
suffering, emotional stress, and other consequential damages, and bring a claim for such
damages and any other economic and non-economic damages allowed under Colorado’s

wrongful death statute.

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WHEREFORE_. Plaintiffs pray forjudgment against each of the Defendants in an amount in
excess of$?$._OU0.00_. for costs ot`this action_, and for such other and further relief as the Court deems
just and equitable

CERTIFICATE ()F REVIEW

Pursuant to Colorado Revised Statute§ 13-20-602_. undersigned counsel for Plaintiffs hereby
certifies that he has consulted with a physician who has expertise in the area of the alleged negligent
conduct, that the physician who was consulted reviewed the known facts. including such records._
documents, and other materials which the professional found to be relevant to allegations of
negligent conduct, and that based on the review ofsuch facts_ the physician concluded that the filing
of the claim in this action does not lack substantial justification Counsel further certifies that the
physician consulted meets the requirements of Colorado Revised Statute § 13-64-401.

REQUEST FOR JURY TRIAL
Pursuant to Federal Rule of Civil Procedure 38. Plaintiffs respectfully make demand for a
trial byjury on all issues so triable.
Respectf`ul ly,
Byf m ~7¢ /‘:/Dz-)
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